Case:19-15060-EEB Doc#:15 Filed:07/18/19 Entered:07/18/19 14:52:39 Page1 of 1
                  UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF COLORADO

In re: Stephen Pabst                  }
            xxx-xx-2869               }    Case No: 19-15060-EEB
                                      }
                Debtor/Movant         }    Chapter 13
_____________________________________________________________________

        OBJECTION TO MOTION FOR RELIEF FROM AUTOMATIC STAY
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       Comes now the debtor, by and through his attorney of record, Kurtis Loomis, and
hereby files this objection to the Motion for Relief From Stay filed by Lakeview Loan
Servicing, LLC (Docket No. 12 ).

1.     The debtor believes he has received a new job, from which he will earn sufficient
income to cure the default in mortgage payments in a Chapter 13 case bankruptcy. The
debtor will confirm his new salary by July 20, 2019, and will convert his case to a Chapter
13 on that date.

2.    There is sufficient equity in the property to adequately protect the creditor and the
property is necessary for an effective reorganization by the debtor.

Wherefore, the debtor objects to the Motion For Relief From Stay and would request a
hearing thereon.

Dated this 18th day of July, 2019.                   By: /s/ Kurtis Loomis______________
                                                     Kurtis Loomis, Reg. No. 16553
                                                     Counsel to debtor(s)
                                                     916 N. Cleveland Avenue
                                                     Loveland, CO. 80537
                                                     (970) 663-9138 (Telephone)
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                                                     kurtis@kloomis.com

                                     Certificate of Service

        The undersigned certifies that a true and accurate copy of the foregoing OBJECTION TO
MOTION FOR RELIEF FROM AUTOMATIC STAY, was deposited in the United States Mail on the
18th day of July, 2019, postage pre-paid, certified mail (or by via CM/ECF if noted), and addressed
to the following:

US Trustee, Byron G. Rogers Federal Building, 1961 Stout Street, Ste. 12-200
Denver, CO. 80294 via CM/ECF

Mr. David W. Drake, 216 16th Street, Suite 1210, Denver, CO 80202 via CM/ECF

Joli A. Lofstedt, 950 Spruce St., Ste. 1C, Louisville, CO 80027 via CM/ECF


                                                     /s/ Kurtis Loomis

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